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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,                     CASE NO. 13-20156-6

      v.                                    HON. GEORGE CARAM STEEH

JUAN RUBIO CERDA,

             Defendant.
                                        /

                         ORDER DENYING DEFENDANT’S
                      MOTION FOR REDUCTION OF SENTENCE

      Defendant’s motion for reduction is hereby denied for the reason that this court

considered the reduced advisory guideline range resulting from the recent Sentencing

Commission amendment at the time of the original sentencing hearing in this case.

      IT IS SO ORDERED.

Dated: November 20, 2014
                                            s/George Caram Steeh
                                            GEORGE CARAM STEEH
                                            UNITED STATES DISTRICT JUDGE

                                  CERTIFICATE OF SERVICE

                   Copies of this Order were served upon attorneys of record on
                    November 20, 2014, by electronic and/or ordinary mail and
                     also on Juan Rubio Cerda #48204-039, P. O. Box 8000,
                                       Bradford, PA 16701.

                                        s/Barbara Radke
                                          Deputy Clerk
